
This matter have been duly presented pursuant to Rule 1:20-10(b), following a granting of a motion for discipline by consent in **456DRB 17-411 of ERICA MARIE SCAVONE of EWING, who was admitted to the bar of this State in 2013;
And the District IX Ethics Committee and respondent having signed a stipulation of discipline by consent in which it was agreed that respondent violated RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation);
And the parties having agreed that respondent's conduct violated RPC 8.4(c), and that said conduct warrants a censure, or such lesser discipline as the Board may deem appropriate;
And the Disciplinary Review Board having determined that a censure is the appropriate discipline for respondent's unethical conduct and having granted the motion for discipline by consent in District Docket No. IX-2016-0003E;
And the Disciplinary Review Board having submitted the record of the proceedings to the Clerk of the Supreme Court for the entry of an order of discipline in accordance with Rule 1:20-16(e);
And good cause appearing;
It is ORDERED that ERICA MARIE SCAVONE of EWING is hereby censured; and it is further *1132ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
